                         Case 4:13-cr-00167-KGB Document 119 Filed 04/24/14 Page 1 of 6
AO 245B       (Rev. 09/11) Judgment in a Criminal Case                                                                      FILED
                                                                                                                         U.S. DISTRICT COURT
              Sheet 1                                                                                                EASTERN DISTRICT ARKANSAS



                                         UNITED STATES DISTRICT COURT
                                                                                                             JAMES
                                                         EASTERN DISTRICT OF ARKANSAS                         By:_---t~~+-b~-;::-:::~-:-==
                                                                                                                                           DEP CLERK

             UNITED STATES OF AMERICA                                     ~      JUDGMENT IN A CRIMINAL CAS
                                  v.                                      )
                                                                          )
          ANTWANN DESHAWN SOCKWELL                                               Case Number:           4:13CR00167-04 JLH
                                                                          )
                                                                          )      USMNumber:             27805-009
                                                                          )
                                                                          )      Dale E. Adams
                                                                                 Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        Counts 1, 3 of Indictment

D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                         Offense Ended                Count
18 U.S.C. § 1951(a)              Conspiracy to interfere with commerce by robbery,                              2/2013                    1
                                  a Class C felony
18 U.S.C. § 924(c)(1)(A)         Possession of a firearm in furtherance of a crime of violence,               6/20/2012                    3
                                  a Class A felony


       The defendant is sentenced as provided in pages 2 through          ---''--- of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
X Count(s)      2, 7, and 23 oflndictment                 Dis     X are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in econonuc circumstances.




                                                                          J. LEON HOLMES, UNITED STATES DISTRICT JUDGE
                                                                          Name and Title of Judge


                                                                          April24, 2014
                                                                          Date
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AO 245B       (Rev. 09/11) Judgment in Criminal Case
              Sheet 2 - Imprisonment

                                                                                                     Judgment- Page --=-2- of   6
DEFENDANT:                       ANTWANN DESHAWN SOCKWELL
CASE NUMBER:                     4:13CR00167-04 JLH


                                                                IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

                         12 MONTHS on Count 1; 84 MONTHS on Count 3 to run consecutive
                                   for a TOTAL TERM OF 96 MONTHS

    X The court makes the following recommendations to the Bureau of Prisons:
          The Court recommends defendant participate in residential substance abuse treatment, and educational and
          vocational programs during incarceration.



    X The defendant is remanded to the custody of the United States Marshal.

    0     The defendant shall surrender to the United States Marshal for this district:

          0     at                                     0 a.m.   0 p.m.       on
                      ------------------
          0     as notified by the United States Marshal.

    0     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          0     before 2 p.m. on

          0     as notified by the United States Marshal.

          0     as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                          to

 a ----------------------------- , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL



                                                                            By ------====~~==~~~~~~-----­
                                                                                     DEPUTY UNITED STATES MARSHAL
                            Case 4:13-cr-00167-KGB Document 119 Filed 04/24/14 Page 3 of 6
AO 2458       (Rev. 09/11) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                           Judgment-Page        3    of         6
DEFENDANT:                      ANTWANN DESHAWN SOCKWELL
CASE NUMBER:                    4:13CR00167-04 JLH
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
                                                              THREE (3) YEARS

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.

D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
X        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

D        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
         as directed by the probatiOn officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)       the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so-by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observeo in plain view of the probation officer;
 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or ~ersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
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AO 2458   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3A- Supervised Release
                                                                                             Judgment-Page _ _,_4_ of       6
DEFENDANT:                ANTWANN DESHAWN SOCKWELL
CASE NUMBER:              4:13CR00167-04 JLH

                                    ADDITIONAL SUPERVISED RELEASE TERMS

14) The defendant must participate, under the guidance and supervision of the probation officer, in a substance abuse treatment
program which may include testing, outpatient counseling, and residential treatment. The defendant must abstain from the use
of alcohol throughout the course of treatment.
15) The defendant must disclose financial information upon request of the U.S. Probation Office, including, but not limited to,
loans, lines of credit, and tax returns. This also includes records of any business with which the defendant is associated. No new
lines of credit may be established without prior approval of the U.S. Probation Office.
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AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 5 - Criminal Monetary Penalties
                                                                                                   Judgment- Page _.;:.5_ _   of      6
DEFENDANT:                        ANTWANN DESHAWN SOCKWELL
CASE NUMBER:                      4:13CR00167-04 JLH
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                        Fine                              Restitution
TOTALS            $ 200.00                                          $ 0                                $ 31,353.05


D The determination of restitution is deferred until - - -. An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

X The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned J?,ayment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U:S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is pa1d.

Name of Payee                                 Total Loss*                     Restitution Ordered                  Priority or Percentage
Andy's Restaurant                                                                           $1,193.00
Burger King                                                                                   $596.00
Carlisle Citgo                                                                              $1,056.04
Dollar General                                                                              $1,087.00
Doublebee's #131                                                                            $6,107.25
Little Caesar's Pizza                                                                       $1,500.00
McDonald's                                                                                  $2,100.00
Shell Superstop in Benton                                                                     $700.00
Shell Superstop in Bryant                                                                     $380.00
Taco Bell                                                                                   $1,055.00
Taco Bueno                                                                                  $2,008.61
Tropical Smoothie Cafe                                                                      $1,500.00
Wendy's Restaurant/Markham                                                                  $2,707.72
Wendy's Restaurant/Cantrell                                                                 $1,422.27
Mabelvale Automotive                                                                        $4,000.00
Bestway Rent-to-Own                                                                           $959.49
Dodge Store                                                                                 $1,295.00
Wendy's Restaurant/                                                                         $1,685.67
 Colonel Glenn

 TOTALS                             $ ---------
                                                                           $ _______~3~1~,3~53~·~05~


 D    Restitution amount ordered pursuant to plea agreement $
                                                                       ------------
 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 X    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      X the interest requirement is waived for the            D fine   X restitution.
      D the interest requirement for the             D fine    D restitution is modified as follows:


 *Findings for the total amount oflosses are reguired under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April23, 1990.
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AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6- Schedule of Payments

                                                                                                              Judgment- Page --"-6- of                  6
DEFENDANT:                  ANTWANN DESHAWN SOCKWELL
CASE NUMBER:                4:13CR00167-04 JLH

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    X    Lump sum payment of$ _2=-0::_:0:...:.c.O::_:O'-------- due immediately, balance due

          D      not later than                                  , or
          D      in accordance           D C,         D D,     D E, or         D Fbelow; or
B    D    Payment to begin immediately (may be combined with                oc,          D D, or       D F below); or
C    D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D    D    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    D    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    X    Special instructions regarding the payment of criminal monetary penalties:
          During incarceration, the defendant will pay 50 percent per month of all funds that are available to him.
          During residential reentry placement, payments will be reduced to 10 percent of the defendant's gross
          monthly income. Beginning the first month of supervised release, payments will be 10 percent per month of
          the defendant's monthly gross income. The interest requirement is waived.

Unless the court has expressly ordered otherwise, if this jud~ent imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financia1
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




X    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.

     Restitution will be joint and several with any other defendant convicted on an offense for which restitution to the
     same victim on the same loss is ordered.


 D   The defendant shall pay the cost of prosecution.

 D   The defendant shall pay the following court cost(s):

 D   The defendant shall forfeit the defendant's interest in the following property to the United States:




Paytnents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
